  Case 17-41278        Doc 91    Filed 06/21/18 Entered 06/21/18 14:52:00             Desc Main
                                   Document     Page 1 of 2


                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION


In re:                                        )
JOHN A. YELLIG, III, & PATRICIA A.            )         Case No. 17-41278
YELLIG                                        )         Chapter 13

                          MOTION TO APPROVE SETTLEMENT

       NOW COMES the debtor, John A. Yellig, III, and hereby moves this Honorable Court to

approve the proposed settlement of his employment claim on the terms attached as Exhibit A. In

support of this motion, the debtor states as follows:

   1. The debtor has reached a compromise of his claim arising out of the termination of his

       employment with Veterans Inc. Counsel for Veterans, Inc. has drafted and Plaintiff has

       executed a settlement agreement contemplating the resolution of this and all other

       disputes and controversies between the Parties. The settlement agreement acknowledges

       that Veterans, Inc. disputes liability in this matter and the settlement is not an admission

       of liability.

   2. Debtor is represented by special counsel, Alan D. Meyerson, Esq. pursuant to debtor’s

       application to employ, allowed by this Honorable Court on 7/28/2017.

   3. Debtor has not asserted an exemption in the settlement funds, and the debtor’s confirmed

       Chapter 13 plan provides that the non-exempt funds will be paid to the Trustee.

   4. All creditors and the Trustee have been notified of the proposed settlement, and a

       certificate of service has been filed. See MLBR 9019-1(d). See also In re Dooley, 399

       B.R. 340, 349 (Bankr. Mass. 2009).

   5. The compromise is in the best interests of the estate. See id.
 Case 17-41278      Doc 91     Filed 06/21/18 Entered 06/21/18 14:52:00        Desc Main
                                 Document     Page 2 of 2


       WHEREFORE, for the foregoing reasons, the debtor respectfully requests that this

Honorable Court approve the proposed settlement.


                                          PLAINTIFF,
                                          JOHN A. YELLIG, III
                                          By his attorney,

                                          __/s/ William C. Parks
                                          William C. Parks, BBO# 679820
                                          Law Office of William C. Parks
                                          100 State Street, Suite 900
                                          Boston, MA 02109



                                      Certificate of Service
        I, William C. Parks, certify that, to the best of my knowledge, this document, filed
through the Court’s ECF system, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) on June 21, 2018.



                                                   /s/ William C. Parks
                                                   William C. Parks
